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                              IN THE UNITED STATES DISTRICT COURT
                                   EASTERN DISTRICT OF TEXAS
                                       SHERMAN DIVISION

        JUAN LOZADA-LEONI,             §
                                       §
              Plaintiff,               §
                                       §
          vs.                          §
                                       §                      Civil Action No. 4:20-cv-68
        MONEYGRAM INTERNATIONAL, INC., §
        and MONEYGRAM PAYMENT          §
        SYSTEMS, INC.,                 §
              Defendants.              §
                                       §
                                       §


            INTERVENOR KLG’S SECOND AMENDED 1 MOTION FOR REVISION OF
                               PLEADING SCHEDULE




             Comes now Kardell Law Group (KLG), Intervenor in the above referenced matter, and

   files this its SECOND AMENDED MOTION FOR REVISION OF PLEADING

   SCHEDULE and would respectfully show the Court as follows:

                         1.   Request:

                   KLG herein requests (a) that KLG’s Reply, presently due on 1/2/2021

                   (weekend filing extension until 1/4/2021), be extended to 1/8/2021; and

                   (b) that Plaintiff’s due date for its submission (1/15/2021) remain the
                   same.

   1
       Docket history:

       11/25/2020 Dkt. 143       ORDER granting Dkt. 141 Motion to Extend Deadlines
       12/23/2020 Dkt. 152       ORDER granting Dkt. 151 Motion for Revision of Pleading Schedule




   KLG’S SECOND AMENDED MOTION FOR REVISION OF PLEADING SCHEDULE                                Page 1 of 3
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              2. Basis:

              To allow the parties extra time to undertake settlement discussions.

              3. Plaintiff’s position:

              Plaintiff and his counsel, Hutchison & Stoy (H&S) are unopposed to the

              relief requested herein, provided that (a) KLG submits to H&S by close of

              business on Monday (1/4/2021) the specific amount of attorney’s fees

              requested herein, plus the basis for same, and (b) the due date for H&S’s

              submission (1/15/2021) remains the same.

           For the reasons stated herein, Intervenor KLG requests that the due date for its

    Reply herein be extended from 1/4/2021 to 1/8/2021.

                                                    Respectfully submitted,

                                                    /s/ Steve Kardell
                                                    Steve Kardell
                                                    Texas State Bar No. 11098400
                                                    E-mail: skardell@kardelllawgroup.com
                                                    KARDELL LAW GROUP
                                                    4514 Cole Avenue, Suite 600
                                                    Dallas, Texas 75205
                                                    Telephone: (214) 616-4654
                                                    Facsimile: (469) 729-9926
                                                    ATTORNEY FOR INTERVENOR


                                CERTIFICATE OF CONFERENCE

           On 1/2/2021, I conferred by email with Susan Hutchison, counsel for Plaintiff,
       in the manner required under Local Rule 7(h) regarding the relief requested herein.
       Plaintiff is unopposed to the relief requested herein, subject to the stipulations
       indicated in ¶ 3 herein.
                                                    /s/ Steve Kardell




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                               CERTIFICATE OF SERVICE

          I hereby certify that the foregoing document has been submitted, by electronic
       means, to all counsel of record on 1/3/2021.

                                                  /s/ Steve Kardell




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